Case 1:24-cv-20492-RKA Document 31-2 Entered on FLSD Docket 05/22/2024 Page 1 of 2




                            Exhibit A
Case 1:24-cv-20492-RKA Document 31-2 Entered on FLSD Docket 05/22/2024 Page 2 of 2


    From:              Anthony Ross
    To:                Damian Kelsick
    Subject:           RE: Caribbean Galaxy et al v. MSR Media et al
    Date:              Monday, May 20, 2024 9:35:56 AM


    Good morning, King's Counsel:

    I acknowledge receipt of your email below together with courtesy copies of the
    subpoenas served on behalf of MSR and Martinez pursuant to 1782 Proceedings ( In
    Re: Martinez and MSR Media SKN LTD., Case No. 1:24-mc-20492-RKA) brought in
    the United States for discovery relating to the captioned action in St. Kitts.

    Respectfully,


    Anthony Ross
    E. Anthony Ross KC, P.Eng., FCIArb
    E. Anthony Ross Professional Services


    From: Damian Kelsick <desk@kwfonline.com>
    Sent: Monday, May 20, 2024 8:50 AM
    To: Anthony Ross <aross@arosslaw.com>
    Subject: Caribbean Galaxy et al v. MSR Media et al


    Dear Mr. Ross
    Please find attached copies of the subpoenas served on behalf of our clients pursuant to
    1782 Proceedings ( In Re: Martinez and MSR Media SKN LTD., Case No. 1:24-mc-20492-
    RKA) brought in the United States for discovery relating to the captioned action.

    Regards

    --
    Damian E. S. Kelsick, KC | Partner | Kelsick, Wilkin & Ferdinand | Independence Square South,
    Basseterre, St. Kitts | T: (869) 465-2645 | F: (869) 465-7808 | Web: www.kwfonline.com

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